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                        UNITED STATES DISTRICT COURT ?*nru Z B Z,ts
                        NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION      crHr?U6so8rEE?l8,Im
ARNOLD PEOPLES and JHALIA PEOPLES, )
by her father and next friend, ARNOLD PEOPLES, )
                                                           )
Plaintiffs,
                                                                    1:19-cv-0056g
VS.
                                                                    Judge Edmor
OSWEGO COMMTINITY SCHOOL DISTzuCT,
                                                                    r*r;s-i"tii"    ;'fr: rTtr, B. Kim
DINAH MEYERS, TIFFANI SIMMONS,
CHzuSTTNE NELSON, IMARA NEGRON,
ALEX GONZALEZ, and ILLINOIS
DEPARTMENT OF CHILDREN AND FAMILY.
SERVICES,                                                             JURY TRIAL DEMAI\DED

Defendants.

                                         COMPLAINT

        Plaintiffs ARNOLD PEOPLES and JHALIA PEOPLES, by her father and next friend,

ARNOLD PEOPLES, complainpro se against the Defendants as follows:

                                   Jurisdiciton and Venue

        This court has jurisdiction over this matter pursuant         to   28 USC 1331, 42 USC 1983, 42

USC 1988, supplemental jurisdiction over State Claims pursuant to 42 USC 1367(a) and the

Fourth Amendment to the United States Constitution.

                                             Parties

        l.    Plaintiff ARNOLD PEOPLES is a resident           of   Kendall County, Illinois and the

Northern District of Illinois. He is the father and sole custodial parent of Plaintiff JHALIA

PEOPLES and her older brother, Jabari Peoples.



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        2. JHALIA PEOPLES            is a resident   of   Kendall County, Illinois and the Northem District

of Illinois. She is, at the age    of   nine, the minor child of PlaintiffARNOLD PEOPLES and

brings this Complaint through PlaintiffARNOLD PEOPLES, as her parent and next friend.                          At

all times relevant to the Complaint she was duly enrolled in Defendant DISTRICT'S Long Beach

Elementary School.

        3.   Defendant OSWEGO COMMTINITY SCHOOL DISTzuCT ("DISTRICT") was

created and is controlled by popular election pursuant                 to   105 ILCS   545/l. Long Beach

Elementary is a school created by and under the control of Defendant DISTRICT.

        4.   ThE ILLTNOIS DEPARTMENT OF CHILDREN                              AND FAMILY SERVICES is an

administrative agency of the STAIE OF ILLINOIS.

        5. Defendant DINAH MEYERS               was at times relevant employed by Defendant

DISTzuCT as a school nurse assigned to Long Beach Elementary School. This Defendant is

complained    of   in her individual capacity.

        6.   Defendant TIFFANI SIMMONS was at all times relevant employed by Defendant

DISTRICT      as teacher assigned to the    Long Beach Elementary School. This Defendant is

complained    of   in her individual capacity.

        7. Defendant CHRISTINE NELSON was at alltimes relevant                           employed by Defendant

DISTRICT as a social worker assigned to the Long Beach Elementary School. This Defendant

is complained   of   in her individual capacity.

        8. Defendant IMARANEGRON was at alltimes relevant employed by the Illinois

Department of Children and Family Services as a Child Protection Investigator/Specialist. This

Defendant is complained       of   in her individual capacity.

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        9. DefendantALEX GONZALEZwas                  at all time relevant employed by the Defendant

DISTRICT as an Assistant Principal assigned to the Long Beach Elementary School. This

Defendant is complained       of   in his individual capacity.

                                                    Facts

        10. From on or about March 13,2017 through shortly before the filing of this Complaint,

Plaintiff ARNOLD PEOPLES emailed to, telephoned and met with the principal and others

employed by the Defendant OWSEGO SCHOOL DISTzuCT his concerns about the bullying,

unfair treatment and unequaltreatment toward his daughter JHALIA PEOPLES who was then a

student at Long Beach Elementary School.

        11. On information and belief PlaintiffARNOLD PEOPLES'communications as alleged

above became known to all of the individual DISTRlcT-employed Defendants who then

determined that Plaintiff ARNOLD PEOPLES was a hindrance and an annoyance to them,

lacked what they approved of as parenting skills, and was an           unfit   parent for   PlaintiffJHALIA

PEOPLES.

        12. On January 29,2018 Defendants SIMMONS, NELSON and GONZALEZ in concert

attempted to terminate even temporarily ARNOLD PEOPLES' custodial relationship with

PlaintiffJHALIA PEOPLES by causing a telephone call to be made to DCFS complaining, on

hearsay information and without observing any to injury             PlaintiffJHALIA PEOPLES, that

Plaintiff ARNOLD PEOPLES had struck Plaintiff JHALIA PEOPLES in the mouth.

        13. Defendants SIMMONS, NELSON and GONZALEZ received no response from

DCFS on January 29,2018.




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        14. On January 31,2018, being disappointed by not having received a response from

DCFS, Defendants SIMMONS, NELSON and GONZALEZ in concert and, continuing their

attempt to terminate even temporarily PlaintiffARNOLD PEOPLES'custodial relationship with

Plaintiff JHALIA PEOPLES, again called DCFS and communicated falsely to DCFS that, based

on hearsay information, PlaintiffARNOLD PEOPLES had struck PlaintiffJHALIA PEOPLES

"thirty times."

        15. On January 30,2018 DefendantNEGRON was directed by DCFS to go to and

conduct an investigation at the Long Beach Elementary School where she conferred with

Defendants SIMMONS, MEYERS and NELSON.

        16. Defendants NEGRON, MEYERS, and GONZALEZ confened, decided that

Plaintiff JHALIA PEOPLES was to be stripped searched and commanded PlaintiffJHALIA

PEOPLES to walk into a bathroom with Defendants NEGRON and MEYERS who removed

some or all   of PlaintiffJHALIA PEOPLES'clothes          exposing PlaintiffJHALIA PEOPLES'

intimate body areas despite the protestations   of PlaintiffJHALIA   PEOPLES against being taken

into the bathroom and against the removal of her clothing.

        17. Before removing PlaintiffJHALIA PEOPLES' clothes the Defendants refrained from

contacting PlaintiffARNOLD PEOPLES although contacting a parent before physically

examining a child is required by both DISTRICT and DCFS rules or regulations.

        18. Both before and after removing PlaintiffJHALIA PEOPLES' clothes Defendant

NEGRON used her personal camera to take photos of Plaintiff JHALIA PEOPLES' disrobed,

intimate body areas in violation of DCFS rules and regulations which required her to use only

DCFS photographic equipment.


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          19. Later the same day and after Defendant NEGRON participated in the strip search

and photographing of    PlaintiffJHALIA PEOPLES, Defendant NEGRON left her business card

at the   Plaintiff's home. Upon finding the business card, PlaintiffARNOLD PEOPLES

telephoned Defendant NEGRON and at Defendant NEGRON's request, PlaintiffARNOLD

PEOPLES agreed to meet with Defendant NEGRON which meeting occurred on February 2,

201 8.


          20. On February l, 2018 Defendant GONZALEZ continued to urge Defendant

NEGRON to take "protective custody"       of Plaintiff JHALIA   PEOPLES which demand

Defendant NEGRON refused having determined that Plaintiff JHALIA PEOPLES had not been

harmed and was not in danger    of   being harmed by PlaintiffARNOLD PEOPLES.

          21. The above alleged acts and omissions were committed by the Defendants

intentionally, willfully, wantonly and maliciously.

          22. The above alleged intentional, willful, wanton and malicious acts and omissions of

the Defendants proximately caused and continue to cause severe and extreme emotional and

mental distress injury to PlaintiffJHALIA PEOPLES for which injuries she received and

continues to receive medical treatment.

          23. The above alleged intentional, willful, wanton and malicious acts and omissions of

the Defendants and the witnessing the above alleged injuries to and suffering of his daughter

have inflicted extreme and severe emotional distress injury upon PlaintiffARNOLD PEOPLES.



                                              Claims

   Claim One by JHALIA PEOPLES: 42 USC 1983 (Unreasonable Search And Seizure)


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       24.    - 44. PlaintiffJHALIA         PEOPLES re-alleges paragraphs one        (l)   through twenty-two

(22) in this Claim One as       if said paragraphs   were re-alleged fully.

       45. The strip search and photographing of PlaintiffJHALIA PEOPLES constitute                      a


violation of the Fourth and Fourteenth Amendments protection against unreasonable searches

and seizures      .




      Claim Two bv JHALIAPEOPLES: 42 USC 1983 (Infrinsement of Free Sneech)

        46.   -       68. PlaintiffJHALIA   PEOPLES re-alleges paragraphs one        (l) through twenty-two

(22) in this Claim Two as if said paragraphs were re-alleged fully.

        69. The intentional, willful, wanton and malicious acts and omissions alleged herein

were committed in retaliation       for PlaintiffARNOLD PEOPLES'exercise of speech and has

placed Plaintiff        JHALIA PEOPLES in fear of exercising free         speech and petitioning the

government which retaliation and infringement            of    speech violate the First and Fourteenth

Amendments.

                          Claim Three by JHALIA PEOPLES: Illinois Common
                          Law Tort of Intentional Infliction of Emotional Distress

        70.   - 92. PlaintiffJHALIA         PEOPLES re-alleges paragraphs one        (l) through twenty-two

(22) in this Claim Three as       if said paragraphs   were re-alleged fully.

        93.    The Defendants' conduct was extreme and outrageous.

        94.    The Defendants intended to cause or recklessly or consciously disregarded the

probability of causing emotional distress.

                            Claim Four by JHALIAPEOPLES: Illinois Common
                          Law Tort of Invasion Of Privacy-Intrusion Of Seclusion




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        95.   - 117. Plaintiff JHALIA PEOPLES re-alleges paragraphs one (l) through twenty-
two (22) in this her Claim Four as if said paragraphs were re-alleged fully.

         I18. The Defendants' conduct of strip searching Plaintiff, observing her disrobed

intimate body areas, and photographing her disrobed intimate body areas constituted an intrusion

into Plaintiff's seclusion.

                             Claim Five by JHALIAPEOPLES: Illinois Common
                            Law Tort of Batterv-Insultine or Provoking Touching

         I I 9.   -   l4l   .   Plaintiff JHALIA PEOPLES re-alleges paragraphs one             (I   ) through twenty-

two (22) in this her Claim Five as         if said paragraphs         were re-alleged fully.

         142. The Defendants made physical contact of an insulting or provoking nature with

Plaintiff.

   Claim Six by JHALIAPEOPLES: Illinois Common Law Tort of False Imprisonment

         143.     -   165. Plaintiff JHALIA PEOPLES re-alleges paragraphs one (l) through twenty-

two (22) in this her Claim Five as         if said paragraphs         were re-alleged fully.

         166. The Respondent-agents retained Plaintiffwithout reasonable grounds to believe

Plaintiff committed anv offense.

Claim Seven by ARI\OLD PEOPLES: 42 USC 1983 flnfrinsement of Free Sneech)

         167.     - 199. Plaintiff ARNOLD          PEOPLES re-alleges paragraphs one                (l) through

twenty-one (21) and paragraph twenty-three (23) in this his Claim One as if said paragraphs

were re-alleged fully.

        200. The intentional, willful, wanton and malicious acts and omissions alleged herein

were committed in retaliation          for PlaintiffARNOLD PEOPLES'exercise of speech and has


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placed PlaintiffARNOLD PEOPLES in fear           of   exercising free speech and petitioning the

government which retaliation and infringement         of   speech violate the   Illinois Constitution Article

One, Sections 4 and 5.

                           Claim Eight byARNOLD PEOPLES: Illinois Common


          201.   - 222.     PlaintiffARNOLD PEOPLES re-alleges paragraphs one (l) through

twenty-one (21) and paragraph twenty-three (23) in this his Claim Two as if said paragraphs

were re-alleged fully.

          223.    The Defendants'conduct was extreme and outrageous.

         224.     The Defendant's intended to cause or recklessly or consciously disregarded the

probability of causing emotional distress.

         225. ACCORDINGLY (A) each Plaintiffrequests trial by jury, compensatory damages,

punitive damages, costs, and attorney fees from all Defendants excepting DCFS; and (B)

Plaintiff JHALIA PEOPLES requests a mandatory injunction requiring Defendants DCFS and

DISTzuCT to hand over to he,r all photographs of her and to pay her attorney fees and costs.



   O
ARNOLD PEOPLES
                                                 o^o
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